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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

ASHLEY POPA, individually and on behalf
of all others similarly situated,

Plaintiff, Civil Action No. 2:19-cv-450

Vv. Hon. William S. Stickman IV
HARRIET CARTER GIFTS, INC. a

Pennsylvania corporation and NAVISTONE,

INC. a Delaware corporation,

Defendants.

 

 

JUDGMENT ORDER
AND NOW, this ft day of June 2021, IT IS HEREBY ORDERED that pursuant to the
Memorandum Opinion and ensuing Order of Court, judgment is entered in favor of Defendants,
Harriet Carter Gifts, Inc. and Navistone, Inc., and against Plaintiff, Ashley Popa. The Clerk of

Court is directed to mark this CASE CLOSED.

BY THE COURT:

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WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE

 
